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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1853V
                                      (not to be published)

    ************************* *
                                 *
    ROBERT P. DIPIETRO,          *
                                 *
                                 *                         Filed: October 12, 2021
                     Petitioner, *
                                 *
    v.                           *
                                 *                         Decision by Stipulation; Damages;
                                 *                         Influenza (“Flu”) Vaccine; Chronic
    SECRETARY OF HEALTH AND      *                         Inflammatory Demyelinating
    HUMAN SERVICES,              *                         Polyneuropathy (“CIDP”).
                                 *
                                 *
                     Respondent. *
                                 *
    ************************* *

Howard Gold, Gold Law Firm, Wellesley Hills, MA, for Petitioner
Ida Nassar, U.S. Department of Justice, Washington, DC, for Respondent

                              DECISION ON JOINT STIPULATION1

       On December 9, 2019, Robert Dipietro (“Petitioner”) filed a petition, seeking
compensation under the National Vaccine Injury Compensation Program (“the Vaccine
Program”).2 Pet., ECF No. 1. Petitioner alleges he suffered from chronic inflammatory
demyelinating polyneuropathy (“CIDP”) as a result of the influenza (“flu”) vaccination he received
on February 8, 2017. See Stipulation ¶ 2, 4, dated October 12, 2021 (ECF No. 28); see also Petition.

        Respondent denies “that the flu vaccine caused or significantly aggravated petitioner’s

1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the Decision will be available to anyone with access to the internet. As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of
certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
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alleged CIDP or any other injury or condition.” See Stipulation ¶ 6. Nonetheless, both parties,
while maintaining their above-stated positions, agreed in a stipulation filed October 12, 2021 that
the issues before them can be settled and that a decision should be entered awarding Petitioner
compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

       a lump sum of $45,000.00 in the form of a check payable to Petitioner.

Stipulation ¶ 8. This award represents compensation for all damages that would be available under
42 U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
the Court is directed to enter judgment herewith.3

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.
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